                                                              United States Bankruptcy Court
                                                              Middle District of Pennsylvania
In re:                                                                                                                 Case No. 20-03596-HWV
Ileen D Hanse                                                                                                          Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0314-1                                                  User: AutoDocke                                                             Page 1 of 2
Date Rcvd: Jun 28, 2021                                               Form ID: pdf010                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 30, 2021:
Recip ID                  Recipient Name and Address
                        + Anthony W. Hanse, 800 Clydesdale Drive, York, PA 17402-7599

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 30, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 28, 2021 at the address(es) listed below:
Name                               Email Address
Brian Nicholas
                                   on behalf of Creditor Select Portfolio Servicing Inc., for servicer Hudson City Savings Bank bnicholas@kmllawgroup.com

Brian Nicholas
                                   on behalf of Creditor U.S. Bank Trust National Association as Trustee for Towd Point Master Funding Trust 2020-PM6
                                   bnicholas@kmllawgroup.com

Christos A Katsaounis
                                   on behalf of Creditor Commonwealth of Pennsylvania Department of Revenue RA-occbankruptcy5@state.pa.us,
                                   RA-occbankruptcy6@state.pa.us

Jack N Zaharopoulos (Trustee)
                                   TWecf@pamd13trustee.com

Rebecca Ann Solarz
                                   on behalf of Creditor U.S. Bank Trust National Association as Trustee for Towd Point Master Funding Trust 2020-PM6
                                   bkgroup@kmllawgroup.com




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District/off: 0314-1                                           User: AutoDocke                                                         Page 2 of 2
Date Rcvd: Jun 28, 2021                                        Form ID: pdf010                                                        Total Noticed: 1
Rebecca Ann Solarz
                              on behalf of Creditor Hudson City Savings Bank bkgroup@kmllawgroup.com

Rebecca Ann Solarz
                              on behalf of Creditor Select Portfolio Servicing Inc., for servicer Hudson City Savings Bank bkgroup@kmllawgroup.com

Thomas William Fleckenstein
                              on behalf of Debtor 1 Ileen D Hanse FleckensteinLaw@yahoo.com TFleck84@yahoo.com

United States Trustee
                              ustpregion03.ha.ecf@usdoj.gov


TOTAL: 9




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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  IN RE: Ileen D. Hanse
                                   Debtor(s)                                      CHAPTER 13

  Select Portfolio Servicing, Inc., for servicer Hudson
  City Savings Bank
                                   Movant
                  vs.                                                          NO. 20-03596 HWV

  Ileen D. Hanse
                                   Debtor(s)

  Anthony W. Hanse                                                       11 U.S.C. Section 362 and 1301
                                   Co-Debtor

  Jack N. Zaharopoulos
                                   Trustee

                                                      ORDER

           Upon consideration of Movant’s Motion for Relief from the Automatic Stay, it is:

           ORDERED THAT: The Motion for Relief from the Automatic Stay of all proceedings is granted and

   the Automatic Stay of all proceeding, as provided under Section 362 of the Bankruptcy Abuse Prevention and

   Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362 and Section 1301 of the Bankruptcy

   Code, is modified with respect to the subject premises located at 800 Clydesdale Dr, York, PA 17402

   (“Property), so as to allow Movant, its successors or assignees, to proceed with its rights and remedies under

   the terms of the subject Mortgage and pursue its in rem State Court remedies including, but not limited to,

   taking the Property to Sheriff’s Sale, in addition to potentially pursuing other loss mitigation alternatives

   including, but not limited to, a loan modification, short sale or deed-in-lieu of foreclosure. Additionally, any

   purchaser of the Property at Sheriff's Sale (or purchaser's assignee) may take any legal action for enforcement

   of its right to possession of the Property.




          Dated: June 28, 2021                   By the Court,



                                                  Henry W. Van Eck, &KLHIBankruptcy Judge (JG)




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